
USCA1 Opinion

	




          March 9, 1993                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 92-1971                                    UNITED STATES,                                      Appellee,                                          v.                                  ALDEMAR OREJUELA,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF RHODE ISLAND                [Hon. Raymond J. Pettine, Senior U.S. District Judge]                                          __________________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                          Torruella and Cyr, Circuit Judges.                                             ______________                                 ____________________            Aldemar Orejuela on brief pro se.            ________________            Lincoln C. Almond, United States Attorney, Margaret  E. Curran and            _________________                          ___________________        Kenneth P.  Madden, Assistant  United States  Attorneys, on  brief for        __________________        appellee.                                 ____________________                                 ____________________                 Per  Curiam.   Contrary to  appellant's contention,  the                 ___________            increased   maximum  penalties  and  the  supervised  release            provisions  of the Anti-Drug Abuse  Act of 1986,  Pub. L. No.            99-570, 100 Stat. 3207 (ADAA) became effective on the date of            the ADAA's enactment, i.e., October 27, 1986.   Gozlon-Peretz                                                            _____________            v.  United  States,  498  U.S. 395  (1991).    The  no-parole                ______________            provisions  of the  ADAA  became effective  on that  date, as            well.  United States v. De Los Santos-Himitola, 924 F.2d 380,                   _____________    ______________________            381 (1st Cir. 1991).  And, although Gozlon-Peretz involved 21                                                _____________            U.S.C.   841 (controlled  substances), we have held that  its            rationale applies equally  to the parallel  provisions in  21            U.S.C.    960.  Padilla  Palacios v. United  States, 932 F.2d                            _________________    ______________            31,  33-34   (1st  Cir.  1991).     The  appellant  committed            violations of both  21 U.S.C.    841 and 21  U.S.C.   960  in            April 1987.   His sentences  of 25 years  of imprisonment  on            each of the four  counts, to be served concurrently,  and his            sentences of  20  years  of supervised  release  on  the  two            substantive counts, to be served concurrently, are lawful and            his arguments  to the contrary  are foreclosed by  the above-            cited precedent.                 Appellant appears  also to argue that  amendments to the            penalty  provisions  of  21  U.S.C.       846  and  963  (the            coordinate  conspiracy provisions),  enacted on  November 18,            1988, were unlawfully applied to him.  Even  if intended as a            separate argument,  however, we have  rejected it in  a prior            post-conviction  appeal brought  by  one of  appellant's  co-            defendants.   United  States v.  Sigifredo Gonzalez,  No. 90-                          ______________     __________________            1088, slip op.  at 3-6 (1st Cir. Sept. 11,  1990).  We reject            it  here  as well  for the  reasons  stated in  that Gonzalez                                                                 ________            opinion.                 The  order  of the  district  court  denying this  post-            conviction motion is affirmed.                 Affirmed.                 _________                                         -3-

